        Case 4:16-cv-00004-BMM Document 18 Filed 06/07/17 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 DARREN DOMINIC BRADLEY,

                      Plaintiff,              CV 16-4-GF-BMM

          vs.                                 ORDER OF DISMISSAL

 UNITED STATES OF AMERICA,

                      Defendant.


      Upon consideration of the joint stipulation for dismissal filed by the plaintiff

and defendant,

      IT IS HEREBY ORDERED that all claims of the plaintiff, Darren Dominic

Bradley, against the defendant, United States of America, are dismissed with

prejudice as fully compromised and settled on the merits, each party to bear their

own costs and expenses.

      DATED this 7th day of June, 2017.
